                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION



DONALD J. TRUMP, Candidate for President of the
United States of America,

                Plaintiff,

       v.


 THE WISCONSIN ELECTIONS COMMISSION, and its
 members, ANN S. JACOBS, MARK L. THOMSEN,
 MARGE BOSTELMANN, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official capacities,
 SCOTT MCDONELL in his official capacity as the Dane
 County Clerk, GEORGE L. CHRISTENSON in his
 official capacity as the Milwaukee County Clerk,
 JULIETTA HENRY in her official capacity as the                             Case No.: 20CV1785
 Milwaukee Election Director, CLAIRE WOODALL-
 VOGG in her official capacity as the Executive Director
 of the Milwaukee Election Commission, MAYOR TOM
 BARRETT, JIM OWCZARSKI, MAYOR SATYA
 RHODES-CONWAY, MARIBETH WITZEL-BEHL,
 MAYOR CORY MASON, TARA COOLIDGE, MAYOR
 JOHN ANTARAMIAN, MATT KRAUTER, MAYOR
 ERIC GENRICH, KRIS TESKE, in their official
 capacities; DOUGLAS J. LA FOLLETTE, Wisconsin
 Secretary of State, in his official capacity, and TONY
 EVERS, Governor of Wisconsin, in his official capacity.

                Defendants.




                                  NOTICE OF APPEARANCE



       PLEASE TAKE NOTICE that Stephen L. Shackelford, Jr. of the law firm of Susman

Godfrey L.L.P. has been retained by defendant Governor Tony Evers in this action. Please serve

copies of all papers in this action on the undersigned at the address set forth below.


            Case 2:20-cv-01785-BHL Filed 12/04/20 Page 1 of 2 Document 39
Respectfully submitted this 4th day of December 2020.

                                    /s/ Stephen L. Shackelford, Jr.

                                    Stephen Shackelford Jr.
                                    SUSMAN GODFREY L.L.P.
                                    1301 Avenue of the Americas, 32nd Fl.
                                    New York, NY 10019
                                    212-336-8330
                                    sshackelford@susmangodfrey.com

                                    Attorneys for Defendant, Governor Tony Evers




                                       2

  Case 2:20-cv-01785-BHL Filed 12/04/20 Page 2 of 2 Document 39
